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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE

 JAMES C. DAY,                         )
                                       )
               Plaintiff               )
                                       )
        v.                             ) Case No.: 1:11-cv-00058-GMS
                                       )
 OXFORD MANAGEMENT SERVICES and )
 ROBERT MARTIN, Individually and on    )
 behalf of Oxford Management Services, )
                                       )
               Defendants              )

                      NOTICE OF VOLUNTARY DISMISSAL


 TO THE CLERK:

        Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff voluntarily

 dismisses his Complaint with prejudice.




 Dated: December 12, 2013                   BY: /s/ W. Christopher Componovo
                                            W. Christopher Componovo
                                            Attorney ID # 3234
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                                  Certificate of Service

        I hereby certify that on this 12th day of December, a true and correct copy of the

 foregoing pleading served via mail to the below:


        Oxford Management Service
        4180 Okeechobee Road
        Fort Pierce, FL 34947

        Robert Martin
        4180 Okeechobee Road
        Fort Pierce, FL 34947




                                              /s/ W. Christopher Componovo
                                              W. Christopher Componovo
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